                   IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                        CIVIL ACTION NO. 1:21-cv-717


 WILMER OLIVA,                                   )
                                                 )
                      Plaintiff,                 )
                                                 )
               v.                                )               COMPLAINT
                                                 )           (Jury Trial Demanded)
 CITY OF WINSTON-SALEM,                          )
                                                 )
                       Defendant.                )
                                                 )
                                                 )

                                    INTRODUCTION
       1.     Plaintiff Wilmer Oliva is blind and relies upon his service animal to

navigate his surroundings. While shopping at Hanes Mall in Winston-Salem, North

Carolina, a store manager called mall security and the police to have Mr. Oliva removed

from the store due to his service animal. While mall security acknowledged Mr. Oliva’s

right to be in the store with his guide dog, Winston-Salem Police Department officers

responded and immediately ordered Plaintiff to leave the store. Mr. Oliva explained he

was the victim of disability-based discrimination, but the police officers threatened to

handcuff, arrest, and jail him for trespass if he did not leave the store with his guide dog.

Due to the threat of forcible arrest and detention, Mr. Oliva left the store, and the police

officers issued Mr. Oliva a trespass warning. The officers further ordered Mr. Oliva to

never to return to the store again or he would be arrested. When apprised of these actions,

the City of Winston-Salem approved and ratified their officers’ conduct.




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         2.    Plaintiff brings this action against the City of Winston-Salem (“City”) for

violating Title II of the Americans with Disabilities Act and Section 504 of the

Rehabilitation Act. Under these federal laws, the City is prohibited from limiting or

interfering with service animal rights and is obligated to modify its policies, practices,

and procedures to permit the use of service animals in public places, as well as utilize

methods of administration that do not have the effect of discriminating against service

animal users. The City did not comply with these federal mandates and unlawfully

discriminated against Plaintiff in violation of these laws.

                             JURISDICTION AND VENUE
         3.    Plaintiff brings this action pursuant to Title II of the Americans with

Disabilities Act, 42 § 12181 et seq. and Section 504 of the Rehabilitation Act, 29 U.S.C.

§ 794.

         4.    This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. §§ 1331 and 1343.

         5.    Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391(b)(2) as the

events giving rise to this action occurred in the Middle District of North Carolina.

                                         PARTIES
         6.    Plaintiff Wilmer Oliva is a resident of Forsyth County, North Carolina. Mr.

Oliva is substantially limited in seeing; his blindness and need for navigation assistance is

readily obvious.



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       7.     Due to the severity of his vision impairment, Mr. Oliva relies upon the

assistance of a service animal to navigate his surroundings. His current service animal is

Forte, a dog professionally trained by The Seeing Eye, a philanthropic organization that

breeds and trains guide dogs for blind people.

       8.     Defendant is a local governmental unit of North Carolina. It has a police

force supervised and controlled by a Chief of Police who is appointed and controlled by

the City’s officials. Defendant’s police force executes law enforcement policies and

procedures on behalf of the City.

       9.     As a recipient of federal funding, Defendant is subject to Section 504 of the

Rehabilitation Act. Defendant receives funds from several federal agencies, including

Housing and Urban Development, the Department of Transportation, the Department of

Homeland Security, the Department of Justice, the Environmental Protection Agency, the

Department of Health & Human Services, and the Department of Treasury. The City

received more than $22,000,000 in federal funding for fiscal year 2020.

                               STATEMENT OF FACTS
       10.    Hanes Mall is located at 3320 Silas Creek Parkway, Winston-Salem, NC

27103. Jimmy Jazz is a retail store in Hanes Mall.

       11.    In October 2020, Mr. Oliva entered Jimmy Jazz accompanied by Forte. A

store manager insisted he leave the store because of his dog, even after Mr. Oliva

explained Forte was a service animal. Mr. Oliva left the store and contacted the North

Carolina Department of Justice Consumer Protection Division to complain about the


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disability-based discrimination he experienced. After Mr. Oliva filed his complaint,

Jimmy Jazz assured Mr. Oliva that he and Forte could return to the store and it would

post a sign in the window welcoming the inclusion of service animals.

       12.    After receiving these assurances, Mr. Oliva went to Jimmy Jazz with Forte

on November 27, 2020. Upon seeing Mr. Oliva, the manager insisted he leave, this time

because Forte was not wearing a vest indicating she is a service animal.

       13.    Forte was wearing a guide dog harness and handle with “The Seeing Eye”

label imprinted on it.

       14.    Mr. Oliva explained to the store manager that Forte was his guide dog and

service animal laws do not require animals to wear vests.

       15.    The store manager insisted that Mr. Oliva leave the store or else she would

call the police. Mr. Oliva asserted his right to have his service animal with him.

       16.    Jimmy Jazz staff subsequently contacted both Hanes Mall security and the

City’s police force, the Winston-Salem Police Department (WSPD).

       17.    At least two Hanes Mall security employees arrived at Jimmy Jazz before

the WSPD.

       18.    Mr. Oliva explained to the security employees that he had a right to be in

public places with his service animal.

       19.    As an additional measure, Mr. Oliva also presented informational material

about service animals to the security employees to help them understand the right to use

service animals in public places.

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       20.    The security employees agreed that Mr. Oliva did have a right to be

accompanied by Forte in the store.

       21.    While Mr. Oliva was speaking to mall security, at least two WSPD officers

arrived at Jimmy Jazz.

       22.    One WSPD officer immediately turned to the store manager and asked if

she wanted Mr. Oliva to leave the store.

       23.    After the manager responded “yes,” the WSPD officer turned to Mr. Oliva

and ordered him to leave Jimmy Jazz.

       24.    The officer also asked a Hanes Mall security employee if she wanted Mr.

Oliva removed from Hanes Mall.

       25.    The security employee, who had previously agreed with Mr. Oliva that he

was permitted to have his guide dog with him in public places, indicated that she did not

want Mr. Oliva removed from the mall.

       26.    Mr. Oliva informed the police officers that Jimmy Jazz was a public place

and the store’s own policy permitted the use of service animals.

       27.    The WSPD officers were aware from the beginning of their interaction with

Mr. Oliva that the store sought his removal because of his guide dog.

       28.    As an additional measure, Mr. Oliva presented the WSPD officers with

informational material about service animals to help them understand the right to use

service animals in public places.




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       29.    One of the WSPD officers told Mr. Oliva that he and his partner were not

interested in service animals and information about service animals; the police officers

were concerned only with the store’s right to remove whomever they want for whatever

reason because the store is private property.

       30.    One officer issued Mr. Oliva an ultimatum: “You have two options . . . to

leave the store: —you can leave here on your own or you can leave here in handcuffs and

you can go to jail for trespassing.”

       31.    After the ultimatum was issued, Mr. Oliva left Jimmy Jazz.

       32.    Outside the store, Mr. Oliva explained to one of the officers that requiring

him to leave the store because of his service animal was discrimination.

       33.    The officer reiterated the position that the store could exclude Mr. Oliva for

any reason because it is the store’s private property.

       34.    The WSPD officers ordered Mr. Oliva to show them his identification so

they could document their trespass warning.

       35.    Mr. Oliva provided his identification to the officers and answered their

questions as they documented the incident.

       36.    During their final interaction, the WSPD officers indicated to Mr. Oliva

that they understood he might have a discrimination issue with the store, but that they

were nevertheless trespassing him from the store and he was not to return or he would be

arrested for trespass.




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       37.    Through their actions and comments to Mr. Oliva, the WSPD officers

evidenced an intent to enforce the stated preference of store management through trespass

laws, regardless of Mr. Oliva’s assertion of his right to be accompanied by his service

animal, and regardless of why the store sought to eject Mr. Oliva.

       38.    Upon information and belief, the City has not established service animal

policies, practices, and procedures to accommodate the rights of service animal users in

the community.

       39.    Upon information and belief, the City does not train WSPD officers on the

rights of service animal users in the community.

       40.    Upon information and belief, the City trains its police officers to employ

trespass rules and procedures without regard to whether a merchant’s demand for

removal is based on an individual’s disability or use of a service animal.

       41.    On January 25, 2021, Plaintiff’s counsel sent a letter to Defendant advising

of Mr. Oliva’s ADA rights and requesting that the City remove its ongoing threat to arrest

Mr. Oliva for trespass and update its police policies and procedures to protect Mr. Oliva’s

service animal rights.

       42.    On March 1, 2021, the City responded and claimed no wrongdoing by its

police officers; the City asserted that its officers appropriately applied trespass rules

against Mr. Oliva. The City ratified the conduct of its police officers.




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       43.    On March 22, 2021, Plaintiff’s counsel replied to Defendant’s letter, once

again reiterating the City’s obligations under both state and federal laws to avoid

discrimination when encountering service animal access disputes.

       44.    The City never replied to Plaintiff’s March 22 letter.

       45.    Mr. Oliva has experienced anxiety, fear, anger, humiliation, and depression

as a result of the City’s actions.

                                     CLAIMS FOR RELIEF
                                         COUNT I
              Violations of Title II of the Americans with Disabilities Act

       46.    Plaintiff incorporates the allegations in the preceding paragraphs, as if

alleged herein.

       47.    Plaintiff is blind and is an individual with a disability protected by the

ADA, see 42 U.S.C. § 12102. He is qualified to receive nondiscriminatory services from

the City during police interactions, see 42 U.S.C. § 12131(2).

       48.    The City is a public entity subject to Title II of the ADA, see 42 U.S.C. §

12131(1).

       49.    Title II of the ADA states that “no qualified individual with a disability

shall, by reason of such disability . . . be subjected to discrimination by any such public

entity.” 42 U.S.C. § 12132.

       50.    Discrimination by a public entity includes limiting an individual “in the

enjoyment of any right, privilege, advantage, or opportunity enjoyed by others” based on

their disability, 28 C.F.R. § 35.130(b)(1)(vii), “coercing, intimidating, threatening, or

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interfering” with any individual in the exercise of any right granted or protected by the

ADA, 28 C.F.R. § 35.134(b), failing to “modify policies, practices, and procedures to

permit the use of service animals,” 28 C.F.R. § 35.136(a), and utilizing “criteria or

methods of administration that have the effect of subjecting” individuals to disability-

based discrimination, 28 C.F.R. § 35.130(b)(3)(i).

       51.    The City infringed upon Mr. Oliva’s rights to use a service animal in

public. See 28 C.F.R. §§ 35.130(b)(1)(vii) and 35.136(a).

       52.    The City interfered with Mr. Oliva’s right to be accompanied by his service

animal in public places. See 28 C.F.R. § 36.302(c)(7).

       53.    The City has failed to adequately modify its trespass enforcement policies,

practices, and procedures to permit the lawful use of service animals in public places. See

28 C.F.R. §§ 35.130(b)(7)(i) and 35.136(a), and 36.302(c). It has similarly failed to train

its officers on how to respond to service animal disputes without violating anti-disability

discrimination laws.

       54.    The City’s policy, practice, and/or procedure to remove service animal

users from public places through trespass enforcement unlawfully utilizes “criteria or

methods of administration” that subject service animal users to disability-based

discrimination. See 28 C.F.R. § 35.130(b)(3)(i).

       55.    The Defendant has acted with intent and/or deliberate indifference.

       56.    Plaintiff was harmed by the City’s discriminatory actions and is entitled to

compensatory damages, as well as reasonable attorneys’ fees and costs.

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                                           COUNT II
                       Violations of Section 504 of the Rehabilitation Act

       57.    Plaintiff incorporates the allegations in the preceding paragraphs, as if

alleged herein.

       58.    Plaintiff is blind, an individual with a disability protected by Section 504 of

the Rehabilitation Act, and qualified to receive nondiscriminatory services from the City

during police interactions. See 29 U.S.C. § 794(a).

       59.    In enacting Section 504 of the Rehabilitation Act of 1973, Congress

established “the policy of the United States” that all entities receiving federal funding

must execute their activities in ways that demonstrate “respect for the privacy, rights, and

equal access” of individuals with disabilities. 29 U.S.C. § 701(c)(2).

       60.    The City is a recipient of federal financial assistance from several federal

agencies, including Housing and Urban Development, the Department of Transportation,

the Department of Homeland Security, the Department of Justice, the Environmental

Protection Agency, the Department of Health and Human Services, and the Department

of Treasury, and the City is subject to Section 504 of the Rehabilitation Act and its

implementing regulations. See 29 U.S.C. § 794; 24 C.F.R. § 8; 49 C.F.R. § 27; 28 C.F.R.

§ 42.502; 40 C.F.R. § 7; 45 C.F.R. § 85; and 31 C.F.R. § 17.

       61.    Section 504 of the Rehabilitation Act states: “no otherwise qualified

individual with a disability . . . shall, solely by reason of her or his disability, be excluded




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from participation in, be denied the benefits of, or be subjected to discrimination under

any program or activity receiving Federal financial assistance.” 29 U.S.C. § 794(a).

          62.   Discrimination by a recipient of federal funds includes limiting an

individual in the enjoyment of any right, privilege, advantage, or opportunity enjoyed by

others based on their disability; coercing, intimidating, threatening, or interfering with

any individual in the exercise of any right granted or protected by the ADA; failing to

modify policies, practices, and procedures to permit the use of service animals; and

utilizing criteria or methods of administration that have the effect of subjecting

individuals to disability-based discrimination. 29 U.S.C. § 794(a); see also 24 C.F.R. §§

8(b)(1)(viii) and (4); 49 C.F.R. §§ 27.7(b)(1)(v), (1)(vii), and (4)(i); 28 C.F.R. §

42.503(b)(1)(i), (1)(vii), and (3); 40 C.F.R. § 7.5(a)(5) and (b); 45 C.F.R. §

85.21(b)(1)(vi) and (3)(i); and 31 C.F.R. § 17.130(b)(1)(vi) and (4)(i).

          63.   The City infringed upon Mr. Oliva’s rights to use a service animal in

public.

          64.   The City interfered with Mr. Oliva’s right to be accompanied by his service

animal in public places.

          65.   The City has failed to adequately modify its trespass enforcement policies,

practices, and procedures to permit the lawful use of service animals in public places. It

has similarly failed to train its officers on how to respond to service animal disputes

without violating anti-disability discrimination laws.




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      66.     The City’s policy, practice, and/or procedure to remove service animal

users from public places through trespass enforcement unlawfully utilizes “criteria or

methods of administration” that subject service animal users to disability-based

discrimination.

      67.     The Defendant has acted with intent and/or deliberate indifference.

      68.     Plaintiff was harmed by Defendant’s discriminatory actions and is entitled

to compensatory damages, as well as reasonable attorney fees and costs.

                                  PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully requests that the Court grant the following relief:

   1. Declare that Defendant violated Title II of the Americans with Disabilities Act;

   2. Declare that Defendant violated Section 504 of the Rehabilitation Act;

   3. Afford Plaintiff a trial by jury;

   4. Enter judgment in Plaintiff’s favor;

   5. Award Plaintiff compensatory damages pursuant to 29 U.S.C. § 794a and 42

      U.S.C. § 12133;

   6. Award Plaintiff the costs of this action and reasonable attorneys’ fees pursuant to

      29 U.S.C. § 794a and 42 U.S.C. § 12205; and

   7. Provide such other and further relief as the Court deems to be just and equitable.




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Respectfully submitted this the 15th day of September, 2021.


                                 /s/ Christopher Hodgson


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